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 PROB 12C                                                                           Report Date: December 5, 2017
(6/16)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kimberly Lee Fawver                      Case Number: 0980 2:13CR00096-RHW-1
 Address of Offender:                         , Spokane Valley, Washington 99206
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: January 23, 2014
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349;
                          Aggravated Identity Theft, 18 U.S.C. § 1028A
 Original Sentence:       Prison 48 months;                 Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     Timothy J. Ohms                   Date Supervision Commenced: November 25, 2016
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: November 24, 2021


                                         PETITIONING THE COURT

To issue a WARRANT and to incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 10/06/2017, and 10/12/2017.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            5           Special Condition # 21: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                        November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                        judgement, acknowledging an understanding of the conditions imposed by the Court, which
                        included special condition number 21, as noted above.

                        Ms. Fawver violated the terms of her supervised release on or about October 25, 2017, by
                        consuming a controlled substance, morphine and codeine.

                        On October 24, 2017, a revocation hearing was held. Ms. Fawver was granted release and
                        was directed to report to probation the following day.
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                 On October 25, 2017, Ms. Fawver reported as directed and submitted to a urinalysis test
                 which tested presumptive positive for opiates. Mr. Fawver provided proof of a hydrocodone
                 prescription. The sample was sent to the lab for additional testing.

                 On October 26, 2017, Ms. Fawver appeared at Pioneer Human Services for the purposes of
                 a random urinalysis test. The sample tested presumptive positive for opiates. The sample
                 was sent to the lab for additional testing.

                 Lab reports for both referenced urinalysis tests have been received. Both specimens tested
                 positive for morphine and codeine, which Ms. Fawver does not have a prescription for.


          6      Standard Condition # 1: The defendant shall not leave the judicial district without the
                 permission of the court or probation officer.

                 Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                 November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                 judgement, acknowledging an understanding of the conditions imposed by the Court, which
                 included standard condition number 1, as noted above.

                 Ms. Fawver violated the terms of her supervised release on or about November 14, 2017, by
                 leaving the judicial district and entering the District of Idaho without advanced permission.

                 The Coeur d’Alene Police Department advised the undersigned that on November 14, 2017,
                 Kimberly Fawver and Brittney Hearn were contacted at Enterprise Car Rental in Coeur d’
                 Alene, Idaho, in reference to a stolen vehicle. Ms. Fawver did not have permission, nor did
                 she request permission, to travel to the District of Idaho.


          7      Standard Condition # 7: The defendant shall refrain from excessive use of alcohol and
                 shall not purchase, possess, use, distribute, or administer any controlled substance or any
                 paraphernalia related to any controlled substance, except as prescribed by a physician.

                 Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                 November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                 judgement, acknowledging an understanding of the conditions imposed by the Court, which
                 included standard condition number 7, as noted above.

                 Ms. Fawver violated the terms of her supervised release on or about November 14, 2017, by
                 being in possession of drug paraphernalia.

                 The Coeur d’Alene Police Department advised the undersigned that on November 14, 2017,
                 Kimberly Fawver and Brittney Hearn were contacted at Enterprise Car Rental in Coeur
                 d’Alene, Idaho, in reference to a stolen vehicle. At the time of contact, Ms. Fawver had
                 driven into the Enterprise parking lot with the intent of returning the rental vehicle that was
                 previously reported stolen.

                 A search of the vehicle resulted in findings of the following: a bag that contained a black
                 cloth container that had two baggies with a green leafy substance, a loaded syringe, 12
                 unused syringes, a butane lighter and spoons. Ms. Fawver stated it was her friend’s bag,
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                 (Shalena Paul) and she is a drug user. Ms. Fawver told the officer that they left Shalena in
                 Spokane, Washington.

                 Law enforcement was unable to locate any of Ms. Fawver’s property inside the bag that
                 contained the drug paraphernalia. Law enforcement could not establish if Ms. Fawver or
                 Ms. Hearn had control of the items, therefore no charges were filed.
          8      Standard Condition # 9: The defendant shall not associate with any persons engaged in
                 criminal activity, and shall not associate with any person convicted of a felony, unless
                 granted permission to do so by the probation officer.

                 Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                 November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                 judgement, acknowledging an understanding of the conditions imposed by the Court, which
                 included standard condition number 9, as noted above.

                 Ms. Fawver violated the terms of her supervised release on or about November 14, 2017, by
                 associating with known felons and individuals engaged in criminal activity.

                 The Coeur d’ Alene Police Department advised that on November 14, 2017, Kimberly
                 Fawver and Brittney Hearn were contacted at Enterprise Car Rental in Coeur d’Alene, Idaho,
                 in reference to a stolen vehicle. At the time of contact, Ms. Fawver had driven into the
                 Enterprise parking lot with the intent of returning the rental vehicle that was previously
                 reported stolen.

                 A search of the vehicle resulted in findings of the following: a bag that contained a black
                 cloth container that had two baggies with a green leafy substance, a loaded syringe, 12
                 unused syringes, a butane lighter and spoons. Ms. Fawver stated it was her friend’s bag,
                 (Shalena Paul) and she is a drug user. Ms. Fawver told the officer that they left Shalena in
                 Spokane, Washington.

                 In addition, law enforcement advised that Ms. Fawver was picked up by Tami Hearn, a
                 convicted felon with approximately 20 prior felony convictions. Tami Hearn was
                 accompanied by Henry Ramirez, who is currently on federal supervision.

                 Ms. Fawver did not have permission to associate with these named individuals.


          9      Standard Condition #2: The defendant shall report to the probation officer in a manner
                 and frequency directed by the court of probation officer.

                 Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                 November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                 judgement, acknowledging an understanding of the conditions imposed by the Court, which
                 included standard condition number 2, as noted above.

                 Ms. Fawver violated the terms of her supervised release on or about December 4, 2017, by
                 failing to report as directed.
                 On November 29, 2017, the undersigned received an anonymous call reporting Ms. Fawver
                 was actively consuming methamphetamine. The undersigned left messages for Ms. Fawver
                 to report the following morning to submit to urinalysis testing. Ms. Fawver responded by
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                 text message advising she was at an appointment and would call the undersigned afterward.

                 On November 30, 2017, Ms. Fawver failed to report to the probation office in the morning
                 as directed. She sent text messages alleging she was working on applying for services
                 through DSHS. Later that evening, she advised she could not make it on time due to
                 limitations with the bus schedule. A follow up phone call was completed. Ms. Fawver was
                 directed to report to Pioneer Human Services for the urinalysis that evening and to report to
                 the undersigned on the morning of Monday, December 4, 2017. Mr. Fawver failed to report
                 on December 4, 2017.


          10     Standard Condition #3: The defendant shall answer truthfully all inquires of the probation
                 officer and follow instructions of the probation officer.

                 Supporting Evidence: On November 25, 2016, supervision commenced in this matter. On
                 November 28, 2016, a supervision intake was completed. Ms. Fawver signed a copy of her
                 judgement, acknowledging an understanding of the conditions imposed by the Court, which
                 included standard condition number 3, as noted above.

                 Ms. Fawver violated the terms of her supervised release on or about December 4, 2017, by
                 failing to provide documentation of appointments that prevented her from reporting the week
                 prior.

                 On November 29, 2017, the undersigned received an anonymous call reporting Ms. Fawver
                 is actively consuming methamphetamine. The undersigned left messages for Ms. Fawver
                 directing her to report the following morning to submit to urinalysis testing. Ms. Fawver
                 responded by text message advising she was at an appointment and would call the
                 undersigned afterward.

                 On November 30, 2017, Ms. Fawver failed to report in the morning as directed. She sent
                 text messages alleging she was working on applying for services through DSHS. Later that
                 evening, she advised she could not make it on time due to limitations with the bus schedule.
                 A follow up phone call was completed. Ms. Fawver was directed to report to the
                 undersigned on the morning of Monday, December 4, 2017, with proof of appointments that
                 were preventing her from reporting that morning Ms. Fawver agreed to comply. Ms.
                 Fawver failed to report on December 4, 2017, therefore failing to submit requested
                 documentation.
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